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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA



  PRINCESS DENNAR, MD                                               CIVIL ACTION
  VERSUS                                                            NO: 20-02679
  The Administrators of the TULANE                                  SECTION: T (4)
  EDUCATIONAL FUND


                                            ORDER

       Before the Court is a Motion to Dismiss for Failure to State a Claim and Motion to Strike

filed by Defendant. R. Doc. 17. Since the filing of that Motion, Plaintiff was permitted to file an

amended complaint adding new claims. R. Doc. 39. In its recently filed Motion to Dismiss for

Failure to State a Claim and Motion to Strike (R. Doc. 43), Defendant states the arguments set

forth in its prior motions (R. Docs. 17 and 40, which was deemed deficient), are now superseded

by those set forth in its more recent Motion to Dismiss (R. Doc. 43). Accordingly, to avoid any

confusion,

       IT IS ORDERED that the Motion to Dismiss (R. Doc. 17) is DISMISSED AS MOOT.

The Court will consider only the Motion filed at R. Doc. 43 and the Response in opposition filed

at R. Doc. 46.

       New Orleans, Louisiana, this 30th day of July 2021.




                                                       GREG GERARD GUIDRY
                                                     UNITED STATES DISTRICT JUDGE
